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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

                 Plaintiffs/Counterclaim
                 Defendants,

       v.

HERRING NETWORKS, INC., et al.,                       Case No. 1:21-cv-02130-CJN

                 Defendants/Counterclaim
                                                      Judge Carl J. Nichols
                 Plaintiffs/Third-Party Plaintiffs,

       v.

AT&T SERVICES, INC., et al.,

                Third-Party Defendants.



 THIRD-PARTY DEFENDANT AT&T SERVICES, INC.’S REQUEST FOR JUDICIAL
   NOTICE AND INDEX OF EXHIBITS IN SUPPORT OF MOTION TO DISMISS

       Pursuant to Rule 201 of the Federal Rules of Evidence, Third-Party Defendant AT&T

Services, Inc. (“AT&T Services”) respectfully requests that this Court take judicial notice of the

four (4) documents listed below in ruling on AT&T Services’ motion to dismiss.

                                           Index of Exhibits

            •    Hall Exhibit 1: Attached to the contemporaneously filed Declaration of Natalie L.
                 Hall (“Hall Declaration”) as Exhibit 1 is a true and correct redacted copy of the
                 Assignment Agreement between AT&T Services, Inc. and DIRECTV, LLC, dated
                 July 31, 2021.

            •    Hall Exhibit 2: Attached to the Hall Declaration as Exhibit 2 is a true and correct
                 copy of the July 28, 2021 letter from AT&T Services, Inc. and DIRECTV, LLC
                 notifying Herring Networks, Inc. that AT&T Services would assign its “rights and
                 obligations under the [Affiliation] Agreement” to DIRECTV following the closing
                 of a transaction among AT&T Services, AT&T MVPD Holdings LLC, DIRECTV
                 Entertainment Holdings LLC, and TPG VIII Merlin Investment Holdings, L.P.
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           •   McRae Exhibit 1: Attached to the contemporaneously filed Declaration of
               Marcellus McRae (“McRae Declaration”) as Exhibit 1 is a true and correct copy of
               the March 7, 2022 Complaint filed in Herring Networks, Inc. v. AT&T Inc., et al.,
               No. 37-2022-00008623-CU-BC-CTL (San Diego Superior Ct.) (the “San Diego
               Litigation”).

           •   McRae Exhibit 2: Attached to the McRae Declaration as Exhibit 2 is a true and
               correct copy of the San Diego court’s January 13, 2023 Minute Order dismissing
               all but one of Herring Networks, Inc.’s claims against DIRECTV, LLC in the San
               Diego Litigation.

                                     LEGAL STANDARD

       Under Rule 201 of the Federal Rules of Evidence, “[t]he court may judicially notice a fact

that is not subject to reasonable dispute because it . . . can be accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). In deciding

a Rule 12(b)(6) motion, a court may consider “the facts alleged in the complaint, documents

attached as exhibits or incorporated by reference in the complaint, or documents upon which the

plaintiff’s complaint necessarily relies even if the document is produced . . . by the defendant.”

Conant v. Wells Fargo Bank, N.A., 24 F. Supp. 3d 1, 11 (D.D.C. 2014) (cleaned up). In addition,

a court may consider “matters about which the Court may take judicial notice.” Hinton v. Corr.

Corp. of Am., 624 F. Supp. 2d 45, 47 (D.D.C. 2009) (citation omitted). These matters include

“official court records,” “prior lawsuits,” and other “public records, including SEC filings.” Veg-

Mix, Inc. v. U.S. Dep’t of Agric., 832 F.2d 601, 607 (D.D.C. 1987); Brookens v. Solis, 635 F. Supp.

2d 1, 6 (D.D.C. 2009); SEC v. RPM Int’l, Inc., 282 F. Supp. 3d 1, 10 n.4 (D.D.C. 2017). A court

“must take judicial notice if a party requests it and the court is supplied with the necessary

information.” Fed. R. Evid. 201(c)(2).

                                          ARGUMENT

       In ruling on AT&T Services’ motion to dismiss, the Court may consider Hall Exhibits 1



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and 2—the Assignment Agreement and the letter to Third-Party Plaintiff Herring Networks, Inc.

(“Herring”) notifying Herring of AT&T Services’ intent to assign the Affiliation Agreement to

DIRECTV, LLC (“DIRECTV”)—because the assignment is referenced in Herring’s Amended

Third-Party Complaint (ECF No. 85 (“Am. Third-Party Compl.”) ¶¶ 41, 42) and is central to

AT&T Services’ motion to dismiss. Documents that are “referred to in the complaint and integral

to the plaintiff’s claim,” as well as documents “that a complaint specifically references,” are

considered to be incorporated by reference into the complaint and may be considered by the Court.

In re Domestic Airline Travel Antitrust Litig., 221 F. Supp. 3d 46, 70–71 (D.D.C. 2016) (cleaned

up); Fed. R. Civ. P. 10(c); Banneker Ventures, LLC v. Graham, 798 F.3d 1119, 1133 (D.C. Cir.

2015) (“A pleading’s reference to even a part of a fully integrated and authentic contract thus

incorporates the contract as a whole into the complaint.”). The Assignment Agreement and the

notice of assignment are relevant to AT&T Services’ motion to dismiss because the assignment is

referenced in the Amended Third-Party Complaint and demonstrates that no claim for

indemnification exists against AT&T Services.

       The Court should take judicial notice of McRae Exhibits 1 and 2, which are the complaint

and a court order from a lawsuit that Herring filed against the Third-Party Defendants in March

2022 in San Diego Superior Court. “Courts may take judicial notice of official court records” and

“of other cases including the same subject matter or questions of a related nature between the same

parties.” Veg-Mix, 832 F.2d at 607. The San Diego Litigation between the parties is relevant to

AT&T Services’ motion to dismiss because it is referenced in Herring’s Amended Third-Party

Complaint in this case and underlies Herring’s allegations and claims. (Am. Third-Party Compl.

¶¶ 5, 88, 91–92.) The existence of these court records are “not subject to dispute” because they

can be “accurately and readily determined from sources whose accuracy cannot reasonably be




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questioned.” Fed. R. Evid. 201(b).

          For the foregoing reasons, the Court should grant AT&T Services’ request for judicial

notice.

Dated: June 20, 2023                                Respectfully submitted,

                                                    GIBSON, DUNN & CRUTCHER LLP



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of June 2023, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand to have

served counsel for the parties.


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